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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Criminal No. 18-150(1) (DWF/HB)

 UNITED STATES OF AMERICA,

                       Plaintiff,                 TRIAL BRIEF OF THE
                                                  UNITED STATES
                v.

 MICHAEL HARI,

                       Defendant.

        The United States of America, by and through its attorneys Erica H. MacDonald,

United States Attorney for the District of Minnesota, and Julie E. Allyn, John Docherty,

and Allison Ethen, Assistant United States Attorneys, respectfully submits its trial brief in

this case. Included in this brief is a summary of the facts the government expects the

evidence will establish at trial, as well as briefing regarding evidentiary matters that may

arise during trial.

   I.      SUMMARY OF EVIDENCE AT TRIAL

        Defendant Michael Hari (“Hari”) is the leader of a terrorist militia group responsible

for a multi-state criminal campaign of bombings. Hari called his extremist militia “The

White Rabbits” with the motto: “Ain’t no fun when the rabbit got the gun.” Hari’s base

for his militia group was an office in the small town of Clarence, Illinois. There, Hari

recruited several men, including co-defendants Joe Morris and Michael McWhorter. Hari

outfitted his militia with tactical vests and assault rifles, and assigned them ranks. Hari’s

first mission of hate-fueled violence was to bomb the Dar al-Farooq Islamic Center in

Bloomington, Minnesota.
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       Bombing of the Dar al-Farooq Mosque




       In the early morning hours of August 5, 2017, as the sun was rising at 5:00 a.m.,

several men gathered for morning prayers at the Dar al-Farooq Islamic Center. An Imam

led these worshippers in prayer; a time for maintaining faith and devotion in the quiet of

the pre-dawn. The men’s right to freely exercise their religion was shattered by the screams

of one of the men, H.J., yelling “Fire! Fire!” through the hallways of the Mosque.

       H.J. had finished his morning prayers before the others, and as he walked through

the Mosque parking lot, he heard a loud noise of glass breaking. H.J. immediately turned

toward the sound and saw a man run from the Mosque and leap into a truck parked next to

the building. The truck sped away. H.J. knew immediately something was wrong. He

saw the Imam’s office window was broken – and he could see smoke inside. H.J. ran into

the Mosque yelling “Fire!” As he ran down the hallway, he heard and felt a loud explosion

that shook the concrete walls of the Mosque. The men in the Mosque scattered in shock



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and confusion. Soon they would learn their Mosque had been bombed by an improvised

explosive device. Even later, they would learn that three men, Defendant Hari and co-

defendants Michael McWhorter and Joe Morris, drove from central Illinois to bomb their

Mosque with a 10-pound black powder pipe bomb. All because Hari and his men hated

Islam and wanted Muslims out of the United States. The sanctuary and the community of

the Mosque would never be the same again after such a violent manifestation of hate.

      Investigation at the Scene

      The executive director of the Mosque, M.O., was inside at the time of the bombing

and called for help.    First responders, including the Bloomington Fire Chief and

Bloomington bomb squad technicians, assessed the scene and observed extensive blast

damage: a broken and charred window, pieces of shrapnel throughout the room, and light




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fixtures fallen from the ceiling and scattered around the office. The carpet was shredded

and burnt with a large stain of what turned out to be diesel fuel. Luckily no one had been

in the Imam’s office at the time the bomb went off – as shrapnel had pierced through chairs

and desks.

       Realizing that a house of worship had been bombed, the bomb squad officers

conducted a sweep of the building for victims and other explosive devices and called the

Federal Bureau of Investigation (FBI) to the scene.

       Forensic Analysis

       The FBI’s evidence response team arrived at the Mosque and collected evidence

from the Imam’s office. This evidence included an intact, four-inch diameter end-cap and

fragments of PVC pipe – parts typically associated with a pipe bomb. The FBI submitted

items of evidence collected from the bombed-out room and the grassy area outside the

broken window to its laboratories in Quantico, Virginia for testing, including submissions

for explosives analysis. Forensic analysis corroborated what the bomb squad observed –

the pieces collected from the Imam’s office were in fact the fragmented remains of an

improvised explosive device consistent with black powder having been packed into a

sealed PVC pipe.

       The Minnesota Investigation

       For over seven months, the Minneapolis office of the FBI investigated multiple

leads to find those responsible for the Mosque bombing. They interviewed countless

witnesses who worked at the Mosque, those who lived or were near the Mosque, suspicious

vehicles, and purchasers of black powder. Then, at the end of January 2018, over 500 miles

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away, in Champaign, Illinois, FBI Agent Joel Smith received an anonymous tip. The

tipster claimed to know of a group of men who bombed the Mosque in Minnesota, and who

attempted a bombing of the Women’s Health Practice clinic in Illinois in November 2017.

This group included Hari and his co-defendants Joe Morris and Michael McWhorter.

        The Illinois Investigation

        As the FBI in Illinois investigated the source of the tip, another, very different

anonymous tip came through an ATF tip line on February 19, 2018. This anonymous tip

claimed there was a “possible terrorism threat” and the tipster made inflammatory, racist

statements as to the motive behind the threat. The tip claimed that a man, with the initials

of J.O., had bomb making parts and supplies in his shed at a specific address in Clarence,

Illinois.

        Law enforcement immediately responded to J.O.’s home in Clarence and found the

explosive materials as described by the tip. J.O., however, told investigators he had nothing

to do with those explosives, but he knew who did: Michael Hari. J.O. explained he had a

pending criminal case against Hari for assaulting him in June 2017.

        On February 27, 2018, the FBI began canvassing the small town of Clarence, Illinois

to see if anyone had knowledge involving the devices found on J.O.’s property. This

canvassing included Agent Smith talking with Herbert McWhorter (“Herbert”), Michael

McWhorter’s brother, on his front porch. Herbert was living in a house just around the

corner from Hari’s office.

        Herbert informed Agent Smith that Hari and Joe Morris had recently stashed a large

duffel bag in his home. With Herbert’s consent, Agent Smith searched the duffel bag and

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discovered multiple firearms, including four AR-15 style assault weapons with no serial

numbers. Agents would later learn that two of the firearms were altered to be fully

automatic. Among the weapons was a tactical vest belonging to Hari, with an attached

patch that read: “Pork Eating Crusader.”




          While Agent Smith was talking with Herbert on the front porch, Hari arrived at the

house wanting to speak with Herbert. Agent Smith identified himself to Hari as an agent

with the FBI. Hari, however, ignored Agent Smith. Hari asked Herbert where to find Ellis

Mack (“E.J.”) 1 and Herbert told Hari that E.J. was down the road at the home of Michael

McWhorter and his wife Josie McWhorter (“Josie”). E.J. is Josie’s McWhorter’s then 18-

old son, and Josie is married to Michael McWhorter. Agent Smith observed Hari stare into

Herbert’s home for several seconds through the cracked open front door while officers



1
    E.J. Mack is a codefendant with Hari in charges from the Central District of Illinois.
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were inside securing the recovered weapons for transport. Hari then left and drove to

Josie’s home down the block. After approximately 20 minutes, investigators observed Hari

leave Josie’s house with E.J.

       Josie was not home when Hari left with E.J., but was with Michael McWhorter and

Joe Morris at work in Rantoul, Illinois. While the three were finishing work, Hari contacted

Joe Morris and Michael McWhorter and warned them not to return to Clarence because of

the FBI’s presence in the town. Josie drove Joe Morris and Michael McWhorter to a remote

location so the men could lay low until the FBI left Clarence. Hari kept the men on the run

and in hiding for approximately a week and a half. During this time, Hari believed he was

starting a revolution and created videos he posted to YouTube to incite followers to respond

to Clarence and fight against the federal government.

       Agent Smith went to Josie’s house while the men were still missing. Josie gave

Agent Smith three cell phones belonging to Hari, Joe Morris, and Michael McWhorter.

Agent Smith placed the phones in “airplane mode” to preserve any evidence, and the

phones were later forensically imaged at the FBI offices in Springfield, Illinois pursuant to

a search warrant.

       Co-defendants Michael McWhorter and Joe Morris

       Between March 10 and March 13, 2018, Michael McWhorter and Joe Morris

resurfaced in Clarence and indicated they were ready to talk to law enforcement. Joe

Morris and Michael McWhorter described how Hari led them, and others, as part of the

White Rabbit Militia in a campaign of bombings, home invasions, and armed robberies



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using illegal, fully-automatic infantry assault rifles. 2 The bombing of the Dar al-Farooq

Islamic Center in Minnesota was their first target.

       Hari Orchestrated the Bombing of the Mosque

       Joe Morris and Michael McWhorter described how Hari selected and planned the

bombing of the Mosque to scare Muslims out of the country and show they are not welcome

in America. Hari rented a truck from Enterprise rental in Champaign, Illinois for the trip

to Minnesota. Hari loaded the truck with a pipe bomb and assault rifles, and drove to pick

up Morris and McWhorter from their homes in Illinois. Hari told the men to leave their

cell phones at home. Hari drove the men through the night, careful not to take tollways to

avoid surveillance. Once at the Mosque, Hari pulled the truck up alongside the curb outside

the window of the office belonging to the Imam. Hari stayed in the car while, at Hari’s

direction, Morris, swinging a sledgehammer, smashed the window. McWhorter took the

black powder pipe-bomb, lit the fuse, and threw the explosive device into the Imam’s

office. To increase the damage, Morris then tossed a plastic container full of a 50-50

mixture of diesel fuel and gasoline into the office. The men climbed back into the waiting

get-away truck driven by Hari. As Hari sped away from the Mosque, the men high-fived

their “victory” in bombing the Mosque.

       After Hari drove Morris and McWhorter out of the State of Minnesota, they stopped

that day to rest in a motel. Hari and the men searched online for news of the Mosque

bombing. Amongst the news coverage of the bombing were comments in praise for what


2
 Although the codefendants pled to these various crimes, the government will only offer evidence
of these other crimes in accordance with the Court’s ruling on the 404(b) evidence.
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the men had done. One commenter retorted to on online complaint about the bombing with

the phrase: “Ain’t no fun when the rabbit’s got the gun.” Hari now had his name for his

terrorist militia: the White Rabbits.

       After the Mosque bombing, Hari recruited new members and formalized the

already-existing hierarchical structure of his paramilitary terrorist organization by making

himself the leader, the “captain,” of the White Rabbits. He named McWhorter a “sergeant,”

and Morris a “corporal.” Hari ordered patches for the militia members, including several

depicting a white rabbit and his slogan. Hari drafted the “White Rabbit Handbook,” which

contained, among other things, his views on why Islam is incompatible with American

government and advocating armed revolution.




       Search Warrants
       The base of the White Rabbits was an office Hari rented at 100 South Main Road in

Clarence, Illinois. When the FBI executed a search warrant at the office, they found it was

filled with evidence of Hari’s militia. Items seized included live ammunition, a bullwhip,

knives, Faraday bags (used to block cell phone signals), radio scanners, and cell phone


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jammers. Investigators also found tubs containing the full uniforms of men ready to

commit assaults: green fatigues; helmets; bandoliers; tactical belts with magazine pouches;

black masks; handcuffs; ankle cuffs; and load-bearing body armor vests displaying patches

like “Infidel” and “White Rabbit.”

       Agents also searched Hari’s parents’ house, where he frequently stayed because his

home had no electricity or running water. There, Agents seized Hari’s Dell laptop

computer and one of his cell phones. These devices, like the other cells phones obtained

from Josie McWhorter, were later forensically imaged at the FBI offices in Springfield,

Illinois and have been reviewed by FBI Computer Forensic Examiners pursuant to a search

warrant.

       Hari now stands charged in Minnesota, along with Joe Morris and Michael

McWhorter, in a multi-count Indictment charging him with: Intentionally Defacing,

Damaging and Destroying any Religious Property Because of the Religious Character of

that Property; Intentionally Obstructing, and Attempting to Obstruct, by Force and the

Threat of Force, the Free Exercise of Religious Beliefs; Conspiracy to Commit Federal

Felonies by Means of Fire and Explosives; Carrying and Using a Destructive Device

During and in Relation to Crimes of Violence; and Possession of an Unregistered

Destructive Device.




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   II.      ANTICIPATED EVIDENTIARY AND LEGAL ISSUES DURING TRIAL

         A. The Government may Introduce Out-of-Court Statements by the
            Defendant and his Co-conspirators

         Hari led his co-defendants and other co-conspirators in a wide-ranging conspiracy

as members of his paramilitary organization. The government will be calling several of

these cooperating co-conspirators and anticipates that, during trial, it will seek to admit

numerous out of court co-conspirator statements.

         Federal Rule of Evidence 801(d)(2)(E) governs the admissibility of co-conspirator

statements and provides that a statement is not hearsay if it is offered against a party and

“was made by the party’s coconspirator during and in furtherance of the conspiracy.” See

Fed. R. Evid. 801(d)(2)(E). Such an out of court declaration is admissible against a

defendant under this rule if the government demonstrates: (1) that a conspiracy existed; (2)

that the defendant and the declarant were members of the conspiracy; and (3) that the

declarations were made during the course of and in furtherance of the conspiracy. See

United States v. Bell, 573 F.2d 1040, 1043 (8th Cir. 1978). Federal Rule of Evidence 104(a)

requires the district court to apply a preponderance of the evidence standard in assessing

the admissibility of evidence. Bourjaily v. United States, 483 U.S. 171, 176 (1987); see

also United States v. Meeks, 857 F.2d 1201, 1203 (8th Cir. 1988).

         In making its determination as to the admissibility of coconspirator statements, the

district court may consider any relevant evidence, including the hearsay statements sought

to be admitted. See Bourjaily, 483 U.S. at 176–79; see also Meeks, 857 F.2d at 1203.

Although the statements themselves may be considered in determining their admissibility,

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there must be at least some independent evidence (other than the statements) of the

existence of the conspiracy before the statements are admitted. United States v. Garbett,

867 F.2d 1132, 1134 (8th Cir. 1989). The district court’s discretion to admit co-conspirator

statements “is particularly broad in a conspiracy trial.” United States v. Davis, 457 F.3d

817, 824 (8th Cir. 2006). The government will make the proper showing at trial for the

admission of out-of-court statements by Hari and his co-conspirators as being admissible

as substantive evidence against Hari.

       B. Electronic Evidence

       As in most modern criminal cases, evidence seized in this case includes computers

and cell phones. Accordingly, as in most criminal trials, the government will seek to admit

electronic evidence during its case-in-chief. The electronic evidence primarily includes

data retrieved from Hari’s cell phone and his Dell Laptop computer taken from his parents’

house. Witnesses will testify as to the seizure of Hari’s laptop and cell phones, and as to

the items found in the electronic evidence. These witnesses will include FBI Computer

Forensic Examiner Vicki Klemz, who will testify regarding the retrieval and review

process of data found on the phones and Dell computer. The data on the cell phones

includes, text messages, contact information, and photographs. The data retrieved from

the computer includes, for example, writings and videos made by Hari, as well as relevant

evidence of terms used to search the internet. The data from the computer and cell phones

is admissible under a variety of justifications: the United States will present sufficient chain

of custody; witnesses will testify to the authentication of the items; and the evidence



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contains “distinctive characteristics” to help establish its authenticity. See Fed. R. Evid.

901(b)(4).

       C. Forensic Experts

       “Federal Rule of Evidence 702 permits a district court to allow the testimony of a

witness whose knowledge, skill, training, experience or education will assist a trier of fact

in understanding an area involving specialized subject matter.” United States v. Molina,

172 F.3d 1048, 1056 (8th Cir. 1999). Under Supreme Court precedent, “the [district] judge

is to act as a gatekeeper in determining whether the proposed expert’s testimony both is

relevant and rests upon a reliable foundation.” United States v. Evans, 272 F.3d 1069, 1094

(8th Cir. 2001). District courts have wide latitude in determining the reliability of an

expert’s proposed testimony. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 153 (1999), .

       An expert's opinion may be based on hearsay or facts not in evidence, where the

facts or data relied upon are of the type reasonably relied upon by experts in the field. Fed.

R. Evid. 703.

       The Government provided the defense with a notice of its intent to call various

experts on January 23, 2020. The Government similarly provided to defense the relevant

curricula vitae, reports, and notes, forming the basis of the opinions. The Government

expects to call several of those expert witnesses in its case-in-chief to testify at trial:

             • Robert Mothershead, a Forensic Chemist at the FBI laboratory, who
               will testify regarding his examination of the material recovered from
               the Imam’s office;

             • David Defusco, a Senior Explosive Enforcement Specialist with the
               ATF, who will testify as to the nature of the explosive devices;


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          • Jaqueline Slebrch, a Fingerprint Specialist at the FBI laboratory, who
            will testify regarding attempts to find fingerprints on several bomb
            debris items;

          • Amanda Bakker, a Forensic DNA Biologist at an ATF laboratory,
            who will testify regarding DNA found on firearms;

          • Other expert witnesses from the FBI laboratory in Quantico, Virginia
            may be called depending on the presentation of 404(b) evidence or for
            any rebuttal case. Notice of the testimony of those experts was
            provided to defense by letter dated January 23, 2020.

       Additionally, although several witnesses are fact witnesses, since they may give

what could be characterized as expert testimony, notice of their testimony was similarly

disclosed in the expert disclosure letter. These witnesses include Bloomington Bomb

Technicians Officer Mansur and Officer Risdall, Cellular Analysis Survey Team FBI

Agent Greg Catey, and FBI Computer Forensic Examiner Vicki Klemz.

       D. Fed. R. Evid. 1006 Summaries

       Fed. R. Evid. 1006 allows a party to prepare a summary of voluminous writings to

prove the content of those writings. Because this case involves some voluminous evidence,

such as cell phone records and credit card purchase histories, the government intends to

offer summary charts into evidence in order to assist the jury. “The testimony of a

summary witness may be received so long as she bases her summary on evidence received

in the case and is available for cross-examination.” United States v. Ellefsen, 655 F.3d 769,

780 (8th Cir. 2011) (quoting United States v. King, 616 F.2d 1034, 1041 (8th Cir. 1980))

(permitting IRS Revenue Agent to testify as summary witness that management fees at

issue in tax evasion case constituted constructive dividends).



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       Summary charts are properly admitted when (1) the charts fairly summarize

voluminous trial evidence, (2) they assist the jury in understanding testimony already

introduced, and (3) the witness who prepared the charts is subject to cross-examination

with all documents used to prepare the summary. United States v. Spires, 628 F.3d 1049,

1052-53 (8th Cir. 2011) (citing Fed. R. Evid. 1006); see also United States v. Boesen, 541

F.3d 838, 848 (8th Cir. 2008) (holding charts summarizing clinic’s revenue stream were

properly admitted into evidence in health care fraud trial). “Also, summaries may include

assumptions and conclusions so long as they are ‘based upon evidence in the record.’”

Spires, 628 F.3d at 1053.

       As an example, the government will use such summaries to show financial records

and telephone connectivity between telephone numbers assigned to Hari and his co-

conspirators as well as compilation of evidence extracted from electronic devices. All of

the documents underlying the summary charts have been disclosed to the defense.

       E. Stipulations and Self-Authenticating Records Pursuant to Federal Rule of
          Evidence 902

       The government has proposed several stipulations that would shorten the trial and

obviate the need to call custodians of record as witnesses. For example, the government

has proposed stipulations concerning the authenticity of business records (including bank

records) and the National Firearm Registry. The government will continue to seek

stipulations in advance of the pretrial conference. While no stipulations have yet been

agreed on, the government is hopeful the parties will agree on at least some stipulations to

be put on the record at the pretrial conference.


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       With respect to any business records for which Hari is unwilling to stipulate with

respect to foundation, the government has provided and will continue to provide notice to

defense counsel of its intent to offer these business records without a records custodian

pursuant to the self-authentication provisions of Federal Rules of Evidence 803(6) and

902(11). Federal Rule of Evidence 902(11) provides that certified domestic business

records of regularly conducted activities can be self-authenticating and therefore

admissible under Federal Rule of Evidence 803(6) if accompanied by a written declaration

from a records custodian or other qualified person certifying that the records: (a) were made

at or near the time of the occurrence of the matters set forth by, or from information

transmitted by, a person with knowledge of those matters; (b) were kept in the course of a

regularly conducted activity; and (c) were made by the regularly conducted activity as a

regular practice. The Advisory Committee Notes to the 2000 Amendments make it clear

that a declaration that satisfies 28 U.S.C. § 1746 would satisfy the declaration requirements

of Federal Rule of Evidence 902(11). The records have been and will continue to be

identified with particularity to the defense in the government’s Federal Rule of Evidence

902 notices, and these records have been provided in discovery. Certifications for these

records have been made available for defense review. The government intends to introduce

all such records into evidence en masse at the outset of the trial.

       F. The Government Should be Permitted to have a Second FBI Agent at
          Counsel Table

       This is a complex case, involving a large number of people, expert witnesses,

activity in both Minnesota and Illinois, and a great deal of evidence. FBI Special Agent


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Brenda Kane, based in Minnesota, has been involved in this case since the bombing of the

Mosque. Similarly, FBI Special Agent Joel Smith, previously based in Illinois, was

involved in this case since receiving information from the tipster in Illinois concerning the

bombing of the Women’s Health Practice. Both agents have been central to the collection

of much of the evidence in the case. This is a case which merits a second agent at the

prosecution table.

       G. Jury Nullification
       The government is concerned that Hari, a man charged with bombing a Mosque

because he wanted Muslims out of the country, may attempt to introduce any irrelevant,

immaterial, and unfairly prejudicial evidence for the purpose of jury nullification. Based

on rhetoric in comparable cases throughout the country, the government anticipates that

Hari may seek to introduce testimony and argument aimed at, for example, (i) suggesting

that prosecution of this case is politically motivated; (ii) attacking the propriety of federal

civil rights laws; and/or (iii) asserting the prosecution violates his First Amendment rights

(hereinafter, collectively referred to as “Hari’s potential nullification evidence”).   Hari’s

writings in the White Rabbit Handbook and his YouTube videos demonstrates he believes

committing acts of violence is defensible to advance his ideological beliefs. Hari should

be precluded from attempting to justify his violent crimes with arguments that he, for

example, is a patriot fighting to defend America, or from claiming that the prosecution is

politically motivated.

       Such nullification evidence or argument is impermissible as it would serve no

purpose other than to improperly encourage jurors to set aside the Court’s instructions and

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decide the case on an impermissible basis. The government seeks to highlight this concern

before the start of trial because any reference to Hari’s potential nullification evidence—

even if just during voir dire or opening—could result in prejudice that cannot be undone

by the Court simply sustaining a timely objection from the government.

       Certainly such nullification evidence is not relevant under Fed. R. Evid. 401. Hari’s

potential nullification evidence would encourage jurors to act in direct conflict with the

stated goals of Rule 403 of the Federal Rules of Evidence because such evidence would

serve only one purpose: to inflame the jury’s emotions. Hari asserting to the jury that

prosecution of his case is politically motivated against his political beliefs, or justifying his

actions as First Amendment protected speech, would suggest to the jurors that they should

decide the case based on political views, rather than on the basis of the substantive law

governing this action. Admission of this sort of evidence would substantially risk unfair

prejudice and confusion, and would likely mislead the jury by unjustifiably distracting it

from the actual elements of the charged conduct. In order to avoid such a result, and in

order to adhere to the tenets and principles of the Federal Rules of Evidence, the Court

should not allow such evidence.

       The importance of guarding against attempts at jury nullification is supported by

longstanding precedent and practice. See e.g. United States v. Sepulveda, 15 F.3d 1161,

1190 (1st Cir. 1993) (“the Court shall step in and ‘block defense attorneys’ attempts to

serenade a jury with the siren song of nullification”); United States v. Trujillo, 714 F.2d

102, 106 (11th Cir. 1983) (“[N]either the court nor counsel should encourage jurors to

violate their oath.”) (citing United States v. Dougherty, 473 F.2d 1113, 1130-37 (D.C. Cir.

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1972)); United States v. Moylan, 417 F.2d 1002, 1006 (4th Cir. 1969) (“Public and private

safety alike would be in peril if the principle be established that juries in criminal cases

may, of right, disregard the law as expounded to them by the court, and become a law unto

themselves.”); United States v. Thomas, 116 F.3d 606, 614 (2d Cir. 1997) (“We

categorically reject the idea that, in a society committed to the rule of law, jury nullification

is desirable or that courts may permit it to occur when it is within their authority to prevent

it.”) (emphasis added); United States v. Powell, 955 F.2d 1206, 1213 (9th Cir. 1992).

       The decision in United States v. Lucero is particularly instructive. See 895 F.Supp.

1421 (D. Kan. 1995). Lucero was a civil rights case in which defendants were charged

with violating the Freedom of Access to Clinic Entrances (FACE) Act by interfering with

individuals’ rights to obtain reproductive health services. Id. In their defense, the

defendants sought to present, among other things, “philosophical” evidence regarding the

implications of abortions. Id. at 1426. In refusing to admit such evidence, the court began

its analysis by noting that jurors should not be encouraged “to violate their oath by refusing

to apply the law as given in the court’s instructions.” Id. (citing United States v. Trujillo,

714 F.2d 102, 105-06 (11th Cir. 1983)). The court then determined that the defendants’

proposed evidence was “irrelevant for any purpose other than to provoke the finder of fact

to disregard the law” and that it was “irrelevant to any material issue in the case.” Id.

Consequently, the court excluded the proposed evidence under Fed. R. Evid. 402. Id.

However, the court did not stop there, adding that, “even if such evidence were relevant,

its probative value would be substantially outweighed by the likelihood that its

presentation would result in unfair prejudice and confusion of the issues.” Id. Finally,

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and relatedly, the District Court in Lucero also explicitly rejected the defendants’ claims

based on the First Amendment. Id. at 1425 (“Criminal conduct is not rendered protected

speech in a given case merely because the actor intended to send a message, political or

otherwise . . . [D]efendant is charged because of his conduct, not because of his message.”

(citing United States v. O’Brien, 391 U.S. 367, 376 (1968))).

       Like the court in Lucero, this Court should be prepared to prohibit Hari’s attempts

to inject his political philosophy into the trial for the improper purpose of nullification.




Date: September 29, 2020                                  Respectfully Submitted,

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